
Thomson, J.,
delivered the opinion of the court.
The question in this case is whether Arapahoe county is liable for the costs incurred by the appellant, as defendant in a habeas corpus proceeding, the facts concerning which will be found in Foulke v. The People, 4 Colo. App. 519. By stipulation the only questions submitted to us are, first, whether the habeas corpus case was a criminal case within the meaning of section 699 of Mills’ Annotated Statutes, relating to costs in criminal cases; and, second, whether these costs are chargeable against the county. It is unnecessary to decide whether the proceeding was civil or criminal in its nature. If it was a civil case, of course the costs are not payable by the county. If it was a criminal case, as the *202appellant was defendant, and the requisite statutory steps were not taken to make his expenses a charge against the county, the county is not liable for them. Fremont County v. Wilson, 3 Colo. App. 492; Boykin v. People, 23 Colo. 183.
Let the judgment be affirmed.

Affirmed.

